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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                             Richmond Division



JONATHAN MCGLOTHIAN,
et al.,

      Plaintiffs,

V.                                         Civil Action No. 3:18cv507


W. HAYWOOD FRALIN,
et al.,

      Defendants.



                                    ORDER


      Having considered the PLAINTIFFS' FIRST AMENDED COMPLAINT FOR

DECLARATORY AND INJUNCTIVE RELIEF (EOF No. 12), and the defendants'

MOTION TO DISMISS PLAINTIFFS' AMENDED COMPLAINT (EOF No. 20), the

Magistrate Judge's REPORT & RECOMMENDATION (ECF No. 25), and the

objections thereto (ECF No. 26 and 27) and various briefs related

thereto, it is hereby ORDERED that:

      (1)   The REPORT & RECOMMENDATION (ECF No. 25) is adopted as

to the MOTION TO DISMISS PLAINTIFS' AMENDED COMPLAINT (ECF No. 20)

pursuant    to   Fed.   R.   Civ.   P.   12(b)(1)   and   12(b)(6)   and   the

objections to the REPORT & RECOMMENDATION are overruled; and

      (2)   The REPORT & RECOMMENDATION (ECF No. 25) recommending

denial of the PLAINTIFFS' MOTION FOR A PRELIMINARY INJUNCTION (ECF

No. 4) is adopted except with respect to that part of the finding

on irreparable harm (REPORT & RECOMMENDATION, pp. 46-47) that
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addresses the allegation of irreparable harm arising from loss of

business opportunities and rent payments because the PLAINTIFFS'

FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF (EOF

No.   12)   does   not   seek    monetary      damages   and      the   plaintiffs'

objections (ECF No. 26) on that ground are overruled.

      Accordingly,       the    PLAINTIFFS'     MOTION      FOR    A    PRELIMINARY

INJUNCTION    (ECF   No.   2)    is   denied    and   the   MOTION       TO   DISMISS

PLAINTIFS' AMENDED COMPLAINT (ECF No. 20) is denied.

      It is further ORDERED that an Initial Pretrial Conference is

scheduled for 10:00 a.m. March 20, 2019.                    A separate Initial

Pretrial Order will issue.

      It is so ORDERED.




                                                     /s/                fit/"
                                      Robert E. Payne
                                      Senior United States District Judge


Richmond, Virginia
Date:   March 7, 2019
